Case 18-11479-jkf   Doc 15-2 Filed 03/20/18 Entered 03/20/18 11:17:14   Desc
                       Exhibit A-Mortgage Page 1 of 11




                           EXHIBIT A
Case 18-11479-jkf   Doc 15-2 Filed 03/20/18 Entered 03/20/18 11:17:14   Desc
                       Exhibit A-Mortgage Page 2 of 11
Case 18-11479-jkf   Doc 15-2 Filed 03/20/18 Entered 03/20/18 11:17:14   Desc
                       Exhibit A-Mortgage Page 3 of 11
Case 18-11479-jkf   Doc 15-2 Filed 03/20/18 Entered 03/20/18 11:17:14   Desc
                       Exhibit A-Mortgage Page 4 of 11
Case 18-11479-jkf   Doc 15-2 Filed 03/20/18 Entered 03/20/18 11:17:14   Desc
                       Exhibit A-Mortgage Page 5 of 11
Case 18-11479-jkf   Doc 15-2 Filed 03/20/18 Entered 03/20/18 11:17:14   Desc
                       Exhibit A-Mortgage Page 6 of 11
Case 18-11479-jkf   Doc 15-2 Filed 03/20/18 Entered 03/20/18 11:17:14   Desc
                       Exhibit A-Mortgage Page 7 of 11
Case 18-11479-jkf   Doc 15-2 Filed 03/20/18 Entered 03/20/18 11:17:14   Desc
                       Exhibit A-Mortgage Page 8 of 11
Case 18-11479-jkf   Doc 15-2 Filed 03/20/18 Entered 03/20/18 11:17:14   Desc
                       Exhibit A-Mortgage Page 9 of 11
Case 18-11479-jkf   Doc 15-2 Filed 03/20/18 Entered 03/20/18 11:17:14   Desc
                      Exhibit A-Mortgage Page 10 of 11
Case 18-11479-jkf   Doc 15-2 Filed 03/20/18 Entered 03/20/18 11:17:14   Desc
                      Exhibit A-Mortgage Page 11 of 11
